Case 22-10875-mdc        Doc 24    Filed 05/25/22 Entered 05/25/22 18:36:26             Desc Main
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                   IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


          NOTICE TO DEBTORS, CREDITORS AND PARTIES IN INTEREST

Gary F. Seitz, the Chapter 7 trustee (the “Trustee”) for the case of this debtor (the “Debtor”)
hereby provides notice that the meeting of creditors in this case will be conducted remotely.


All 341 meetings will be conducted remotely by Zoom video/teleconferencing.

A Zoom email invitation will be sent out to counsel for the debtor on behalf of the Trustee
providing a link to connect to the meeting and a call-in number and code if any party wishes to
participate by telephone.

Creditors wishing to participate may obtain access to the meeting at the date and time set by the
Clerk in the original notice or any docketed continuance or check
https://www.paeb.uscourts.gov/content/341-meeting-schedule
by clicking on the Meeting IDLink:
https://us02web.zoom.us/j/8197892947?pwd=ODM0VGo5aGhMS3E5SFJKOTJUaFk3Zz09
Meeting ID: 819 789 2947from a computer or smartphone with audio visual capability or by
dialing the following number on any telephone: 1 646 558 8656 and using Meeting ID: 819 789
2947.

If video users are asked to provide a password please use: Trustee
If telephone users are asked to provide a password please use: 6579294

If the debtor chooses to participate by telephone, please see the additional identification
requirements at: https://sites.google.com/site/edpatrustee/covid-19-341-procedures?authuser=0

Government issued photo ids and social security cards are required.
For more information about the temporary handling of 341 meetings and what documentation
must be provided to the Trustee beforehand, please check the trustee’s web page at:
https://sites.google.com/site/edpatrustee/covid-19-341-procedures?authuser=0

All debtors must review the Bankruptcy Information Sheet prior to the meeting. It can be
downloaded or viewed at: https://www.justice.gov/ust/bankruptcy-information-sheet-0

For more information about the temporary handling of 341 meetings, please check the trustee’s
web page at: https://sites.google.com/site/edpatrustee/covid-19-341-procedures?authuser=0


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